
Exclusive Physical Therapy, P.C., as Assignee of Szeser Michal, Appellant,
againstCountry-Wide Ins. Co., Respondent.




Petre and Zabokritsky, P.C. (Zachary Rozenberg, Esq.), for appellant.
Jaffe &amp; Koumourdas, LLP (Jean H. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered December 2, 2014. The order, insofar as appealed from as limited by the brief, denied the branches of plaintiff's motion seeking summary judgment upon so much of the complaint as sought to recover upon claims for the sums of $246.40 and $985.60, and granted the branches of defendant's cross motion seeking summary judgment dismissing the complaint insofar as it sought to recover upon those claims.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. Insofar as is relevant to this appeal, by order entered December 2, 2014, the Civil Court denied the branches of plaintiff's motion seeking summary judgment upon so much of the complaint as sought to recover upon claims for the sums of $246.40 and $985.60, and granted the branches of defendant's cross motion seeking summary judgment dismissing the complaint insofar as it sought to recover upon those claims.
For the reasons stated in MT Servs. P.T., P.C., as Assignee of Richardson Steven v Country-Wide Ins. Co. (__ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-155 Q C], decided herewith), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










